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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
	  

DIGITAL TECHNOLOGIES LLC,

                                                           Civil Action No. 2:17-cv-
                       Plaintiff,

                v.
                                                         JURY TRIAL DEMANDED
CANON U.S.A., INC.,

                       Defendant.


                       COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Display Technologies, LLC (“Plaintiff”) files this Complaint against	   Canon

U.S.A., Inc. (“Defendant”) alleging as follows:

                                            PARTIES

         1.     Plaintiff Display Technologies, LLC is limited liability company organized under

the state of Texas having a principal place of business at 1400 Preston Road, Ste. 400, Plano, TX

75093.

         2.     Upon information and belief Defendant Canon U.S.A., Inc. is a corporation

organized and existing under the laws of the State of New York, having its principal place of

business at 1 Canon Park, Melville, NY 11747. Canon may be served via its registered agent:

Corporation Service Company, 80 State St., Albany, NY 12207.

                                    JURISDICTION AND VENUE

         3.     This is an action for infringement of a United States patent arising under 35

U.S.C. §§ 271(a), 281, and 284 - 85. This Court has subject matter jurisdiction over this action

under 28 U.S.C. §1331 and §1338(a).
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                                                           4.                                                         Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On

information and belief, Defendant has transacted business in this district, and has committed acts

of patent infringement in this district.

                                                           5.                                                         Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Texas Long Arm Statute, due at	   least to its substantial

business in this forum, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in Texas and in this

judicial district.


                                                                                                                                                                              COUNT I
                                                                                                                                                               (INFRINGEMENT OF U.S. PATENT NO. 9,300,723)

                                                           6.                                                         On March 29, 2016, United States Patent No. 9,300,723 (the “’723 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention titled

“Enabling Social Interactive Wireless Communications.” A true and correct copy of the ’723

Patent is attached hereto as Exhibit A.

                                                           7.                                                         Mr. Leigh M. Rothschild is listed as the inventor of the ’723 Patent.

                                                           8.                                                         Plaintiff is the owner by assignment of the ’723 Patent with all rights in and to

that patent.

                                                           9.                                                         Defendant directly or through intermediaries, makes, uses, imports, sells, and/or

offers for sale products and/or systems (i.e., the Canon cameras with NFC and Wi-Fi in

conjunction with the Canon Camera Connect app1 (collectively, the “Accused Instrumentalities”)


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
 	  Compatible cameras with the Canon Connect App are as follows: PowerShot G9 X Mark II, EOS M5, PowerShot
SX430 IS, PowerShot SX432 IS, PowerShot SX620 HS, PowerShot G7 X Mark II, PowerShot SX720 HS,
PowerShot SX540 HS, PowerShot SX420 IS, PowerShot G5 X, PowerShot G9 X, PowerShot G3 X, PowerShot
SX530 HS, PowerShot SX 710 HS, PowerShot SX 61 9, PowerShot G7 X, PowerShot SX60 HS, PowerShot N2,
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that infringe claims 1, 3, 6, 7, 8, 9, 12, 14, 17, 18, 19, 20, 32, 34, 37, 38, 39, 40, 42, 44, 47, 48,

49, and 50 of the ’723 Patent.

                                                          10.                                                        Upon information and belief, Defendant has been and is now infringing claims 1,

3, 6, 7, 8, 9, 12, 14, 17, 18, 19, 20, 32, 34, 37, 38, 39, 40, 42, 44, 47, 48, 49, and 50 of the ’723

Patent in the State of Texas, in this Judicial District, and elsewhere in the United States, by,

among other things, directly or through intermediaries, making, using, importing, selling and/or

offering for sale Canon Cameras with NFC and Wi-Fi in conjunction with the Canon Camera

Connect app which all operate in substantially the same manner covered by one or more claims

of the ’723 Patent to the injury of Plaintiff. Defendant is thus infringing, literally infringing,

and/or infringing the ’723 Patent under the doctrine of equivalents. Defendant is thus liable for

infringement of the ’723 Patent pursuant to 35 U.S.C. §. 271(a).

                                                          11.                                                        Upon information and belief, to the extent any marking was required by 35 U.S.C.

§ 287, predecessors in interest to the ’723 Patent complied with such requirements.

                                                          12.                                                        The Accused Instrumentalities infringe claim 1 of the ’723 Patent and include at

least one media terminal disposed in an accessible relation to at least one interactive computer

network (i.e., the media terminal is an android smart phone which includes an 802.11 Wi-Fi

transmitter and receiver), a wireless range structured to permit authorized access to said at least

one interactive computer network (i.e., it includes an NFC chip which allows permits authorized

access to the 802.11 Wi-Fi network), at least one media node disposable within said wireless

range (i.e., a Canon camera with Wi-Fi and a NFC tag placed within NFC range of an android
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
PowerShot G1 X Mark II, PowerShot SX700 HS, PowerShot SX600 HS, PowerShot N100, PowerShot ELPH 360
HS, PowerShot 190 IS, PowerShot 350 HS, PowerShot 340 HS, PowerShot IXUS 190, PowerShot 285 HS,
PowerShot 180, PowerShot 182, PowerShot 275 HS, PowerShot 265 HS, EOS 5D Mark IV, EOS REBEL T6/EOS
1300D, EOS 80D, EOS REBEL T6s/EOS 760D, EOS REBEL T6i/EOS 750D, EOS 70D(W), EOS 6D(WG/W),
EOS M10, EOS M3, EOS M2(W), PowerShot G16, PowerShot S120, PowerShot S200, PowerShot SX510 HS,
PowerShot SX280 HS, PowerShot N, PowerShot A3500 IS, PowerShot A3550 IS, PowerShot S110, PowerShot
ELPH 330 HS, PowerShot 130 IS, PowerShot 120 IS, IXUS 255 HS, IXUS 140, IXUS 135, IXUS 245 HS,
PowerShot ELPH 530 HS, PowerShot 320 HS, IXUS 510 HS, and IXUS 240 HS. 	  
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smart phone running the Canon Camera Connect app), wherein said at least one media node is

detectable by said at least one media terminal (i.e., once placed within NFC range, the Canon

camera with Wi-Fi and a NFC tag is automatically detected by the android phone running then

Canon Camera Connect app), at least one digital media file (e.g., a picture or video) initially

disposed on at least one of said at least one media terminal or said at least one media node (e.g.,

a picture or video initially disposes on the Canon camera or android smartphone with the Canon

Camera Connect app installed), said at least one media terminal being structured to detect said at

least one media node disposed within said wireless range (i.e., the android smartphone running

the Canon Camera Connect app automatically detects the Canon camera once it is placed within

NFC range), a communication link structured to dispose said at least one media terminal and said

at least one media node in a communicative relation with one another via said at least one

interactive computer network (i.e., a Wi-Fi network), said communication link being initiated by

said at least one media terminal (i.e., the communications link is initiated by the android

smartphone once it is placed within NFC range of the Canon Camera), said at least one media

node and said at least one media terminal being structured to transmit said at least one digital

media file therebetween via said communication link (i.e., the Canon camera and android

smartphone running the Canon Camera Connect app are structured to transmit a picture or video

file in a digital format over the wi-fi network), and said communication link is structured to

bypass at least one media terminal security measure for a limited permissible use of the

communication link by the media node to only transferring the at least one digital media file to,

and displaying the at least one digital media file on, the at least one media terminal (e.g., the Wi-

Fi network security settings such as encryption protocols and password requirements are
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bypassed for the limited purpose of transmitting a photo or video file from the Canon camera to

the Android smartphone running the Canon Camera Connect app). See Ex. B, Figs. 1-4.

        13.     The Accused Instrumentalities infringe claim 3 of the ’723 Patent, wherein the

transmission of the media file from the at least one media node to the at least one media terminal

completely bypasses the security measure (i.e., the transmission of the photo or video file from

the Canon camera to the android smartphone running the Canon Wireless Utility Mobile app

completely bypasses the Wi-Fi security settings on the android smartphone and Canon camera,

such as encryption protocols and password requirements). See Ex. B, Figs. 1-4.

        14.     The Accused Instrumentalities infringe claim 6 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a Wi-

Fi connection (i.e., the communications link is a Wi-Fi connection). See Ex. B, Figs. 1-4.

        15.     The Accused Instrumentalities infringe claim 7 of the ’723 Patent, wherein the at

least one digital media file is at least one of an image file, video file, gaming file, and a

streaming video file (i.e., the file is an image file, video file, or streaming video file such as “live

view mode”). See Ex. B, Figs. 1-4.

        16.     The Accused Instrumentalities infringe claim 8 of the ’723 Patent by presenting

the at least one digital media file on a display (i.e., the file is displayed on the android

smartphone running the Canon Camera Connect app and the Canon camera). See Ex. B, Figs. 1-

5.

        17.     The Accused Instrumentalities infringe claim 9 of the ’723 Patent, wherein the at

least one digital media file is provided by the at least one media node (i.e., the image, video, or

streaming video file is provided by the Canon camera). See Ex. B, Figs. 1-5.
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       18.     The Accused Instrumentalities infringe claim 12 of the ’723 Patent, and includes a

wireless receiver (i.e., the android smartphone running the Canon Camera Connect app and the

Canon camera includes a wireless receiver in the form of an 802.11 network adapter); a security

measure (i.e., encryption or password requirements for a wireless network connection); and the

media system disposed in an accessible relation to at least one interactive computer network that

has a wireless range structured to permit authorized access to said at least one interactive

computer network (i.e., the android smartphone running the Canon Camera Connect app and the

Canon camera includes a NFC chip which is structured to permit authorized access to an 802.11

Wi-Fi network), the wireless mobile device within said wireless range, wherein said wireless

mobile device is detectable by said media system (i.e., when the Canon camera with NFC and

Wi-Fi is placed within NFC range of the android smartphone running the Canon Camera

Connect app, it is automatically detected by the android smartphone), at least one digital media

file initially disposed on the wireless mobile device (i.e., the Canon camera includes at least on

digital media file), said media system being structured to detect said wireless mobile device

disposed within said wireless range (i.e., the android smartphone running the Canon Camera

Connect app is configured to automatically detect the Canon camera once it entered NFC range),

a communication link structured to dispose said media system and said wireless mobile device in

a communicative relation with one another via said at least one interactive computer network

(i.e., the Canon camera android smartphone running the Canon Camera Connect app includes a

Wi-Fi network adapter which places them in communication over w Wi-Fi network), said

communication link being initiated by said media system (i.e., once the Canon camera is placed

within NFC range, the android smartphone automatically initiates a Wi-Fi connection), said

wireless mobile device and media system being structured to transmit said at least one digital
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media file therebetween via said communication link (i.e., the Canon camera and android

smartphone running the Canon Camera Connect app are configured to transmit a digital media

file such as a photo between them over the Wi-Fi network), and said communication link (i.e., a

Wi-Fi network) is structured to bypass the security measure of the media system for a limited

permissible use of the communication link by the wireless mobile device for only transferring the

at least one digital media file to, and displaying the at least one digital media file on, the media

system (i.e., the Wi-Fi network security settings such as encryption or password requirements are

bypassed for the limited purpose of transmitting the digital media file and displaying it on the

android smartphone running the Canon Camera Connect app). See Ex. B, Figs. 1-5.

       19.     The Accused Instrumentalities infringe claim 14 of the ’723 Patent, wherein the

transmission of the at least one digital media file from the wireless mobile device to the media

system completely bypasses the security measure (i.e., the Wi-Fi security settings such as

encryption or password requirements are completely bypassed for the purpose of transmitting the

digital media file such as a photo). See Ex. B, Figs. 1-5.

       20.     The Accused Instrumentalities infringe claim 17 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a

WiFi connection (i.e., a Wi-Fi connection). See Ex. B, Figs. 1-4.

       21.     The Accused Instrumentalities infringe claim 18 of the ’723 Patent, wherein the at

least one digital media file is at least one of an image file, video file, gaming file, and a

streaming video file (i.e., the file transmitted is a image file, video file, or streaming video file—

live view). See Ex. B, Figs. 1-5.

       22.     The Accused Instrumentalities infringe claim 19 of the ’723 Patent, wherein the

further media system is configured to present the at least one digital media file on a display (i.e.,
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the file is displayed on the android smartphone running the Canon Camera Connect app and the

Canon camera). See Ex. B, Figs. 1-5.

       23.     The Accused Instrumentalities infringe claim 20 of the ’723 Patent, wherein the at

least one media file is provided by the wireless mobile device (i.e., the digital media file is

provided by the Canon camera). See Ex. B, Figs. 1-5.

       24.     The Accused Instrumentalities infringe claim 32 of the ’723 Patent, they are

wireless mobile devices configured to transmit a media file to a media system over a

communication network having a security measure comprising: the media system disposed in an

accessible relation to at least one interactive computer network that has a wireless range

structured to permit authorized access to said at least one interactive computer (i.e., it includes an

NFC chip which allows permits authorized access to the 802.11 Wi-Fi network), the wireless

mobile device within said wireless range (i.e., a Canon camera with Wi-Fi and a NFC tag placed

within NFC range of an android smart phone running the Canon Camera Connect app), wherein

said wireless mobile device is detectable by said media system (i.e., once placed within NFC

range, the Canon camera with Wi-Fi and a NFC tag is automatically detected by the android

phone running then Canon Camera Connect app), at least one digital media file (e.g., a picture or

video) initially disposed on the wireless mobile device (e.g., a picture or video initially disposes

on the Canon camera or android smartphone with the Canon Camera Connect app installed), said

media system being structured to detect said wireless mobile device disposed within said

wireless range (i.e., the android smartphone running the Canon Camera Connect app

automatically detects the Canon camera once it is placed within NFC range), a communication

link structured to dispose said media system and said wireless mobile device in a communicative

relation with one another via said at least one interactive computer network (i.e., a Wi-Fi
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network), said communication link being initiated by said media system (i.e., the

communications link is initiated by the android smartphone once it is placed within NFC range

of the Canon Camera), said wireless mobile device and media system being structured to

transmit said at least one digital media file therebetween via said communication link (i.e., the

Canon camera and android smartphone running the Canon Camera Connect app are structured to

transmit a picture or video file in a digital format over the wi-fi network), and said

communication link is structured to bypass the security measure of the media system for a

limited permissible use of the communication link by the wireless mobile device for only

transferring the at least one digital media file to, and displaying the at least one digital media file

on, the media system (e.g., the Wi-Fi network security settings such as encryption protocols and

password requirements are bypassed for the limited purpose of transmitting a photo or video file

from the Canon camera to the Android smartphone running the Canon Camera Connect app).

See Ex. B, Figs. 1-4.

       25.     The Accused Instrumentalities infringe claim 34 of the ’723 Patent, wherein the

transmission of the at least one digital media file from the wireless mobile device to the media

system completely bypasses the security measure (i.e., the transmission of the photo or video file

from the Canon camera to the android smartphone running the Canon Wireless Utility Mobile

app completely bypasses the Wi-Fi security settings on the android smartphone and Canon

camera, such as encryption protocols and password requirements). See Ex. B, Figs. 1-4.

       26.     The Accused Instrumentalities infringe claim 37 of the ’723 Patent, wherein the

communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a Wi-

Fi connection (i.e., the communications link is a Wi-Fi connection). See Ex. B, Figs. 1-4.
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         27.     The Accused Instrumentalities infringe claim 38 of the ’723 Patent, wherein the at

 least one digital media file is at least one of an image file, video file, gaming file, and a

 streaming video file (i.e., the file is an image file, video file, or streaming video file such as “live

 view mode”). See Ex. B, Figs. 1-4.

         28.     The Accused Instrumentalities infringe claim 39 of the ’723 Patent, wherein the

 device is configured to present the at least one digital-media file on a display (i.e., the file is

 displayed on the android smartphone running the Canon Camera Connect app and the Canon

 camera). See Ex. B, Figs. 1-5.

         29.     The Accused Instrumentalities infringe claim 40 of the ’723 Patent, wherein the at

 least one digital media file is provided by the wireless mobile device (i.e., the image, video, or

 streaming video file is provided by the Canon camera). See Ex. B, Figs. 1-5.

         30.     The Accused Instrumentalities infringe claim 42 of the ’723 Patent by including a

 transfer system from transferring a media file over a communication network, comprising a

 media system; and a wireless mobile device, wherein the media system includes: a wireless

 receiver (i.e., the android smartphone running the Canon Camera Connect app and the Canon

 camera includes a wireless receiver in the form of an 802.11 network adapter), a security

 measure (i.e., encryption or password requirements for a wireless network connection), and a

 processor configured to the media system disposed in an accessible relation to at least one

 interactive computer network that has a wireless range structured to permit authorized access to

 said at least one interactive computer network (i.e., the android smartphone running the Canon

 Camera Connect app and the Canon camera includes a NFC chip which is structured to permit

 authorized access to an 802.11 Wi-Fi network), the wireless mobile device within said wireless

 range, wherein said wireless mobile device is detectable by said media system (i.e., when the
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 Canon camera with NFC and Wi-Fi is placed within NFC range of the android smartphone

 running the Canon Camera Connect app, it is automatically detected by the android smartphone),

 at least one digital media file initially disposed on the wireless mobile device (i.e., the Canon

 camera includes at least on digital media file), said media system being structured to detect said

 wireless mobile device disposed within said wireless range (i.e., the android smartphone running

 the Canon Camera Connect app is configured to automatically detect the Canon camera once it

 entered NFC range)., a communication link structured to dispose said media system and said

 wireless mobile device in a communicative relation with one another via said at least one

 interactive computer network (i.e., the Canon camera android smartphone running the Canon

 Camera Connect app includes a Wi-Fi network adapter which places them in communication

 over w Wi-Fi network), said communication link being initiated by said media system (i.e., once

 the Canon camera is placed within NFC range, the android smartphone automatically initiates a

 Wi-Fi connection), said wireless mobile device and media system being structured to transmit

 said at least one digital media file therebetween via said communication link (i.e., the Canon

 camera and android smartphone running the Canon Camera Connect app are configured to

 transmit a digital media file such as a photo between them over the Wi-Fi network), and said

 communication link (i.e., a Wi-Fi network) is structured to bypass the security measure of the

 media system for a limited permissible use of the communication link by the wireless mobile

 device for only transferring the at least one digital media file to, and displaying the at least one

 digital media file on, the media system (i.e., the Wi-Fi network security settings such as

 encryption or password requirements are bypassed for the limited purpose of transmitting the

 digital media file and displaying it on the android smartphone running the Canon Camera

 Connect app). See Ex. B, Figs. 1-5.
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         31.     The Accused Instrumentalities infringe claim 44 of the ’723 Patent, wherein the

 transmission of the at least one digital media file from the wireless mobile device to the media

 system completely bypasses the security measure (i.e., the Wi-Fi security settings such as

 encryption or password requirements are completely bypassed for the purpose of transmitting the

 digital media file such as a photo). See Ex. B, Figs. 1-5.

         32.     The Accused Instrumentalities infringe claim 47 of the ’723 Patent, wherein the

 communication link is at least one of a peer-to-peer connection, Bluetooth connection, and a Wi-

 Fi connection (i.e., the communications link is a Wi-Fi connection). See Ex. B, Figs. 1-5.

         33.     The Accused Instrumentalities infringe claim 48 of the ’723 Patent, wherein the at

 least one digital media file is at least one of an image file, video file, gaming file, and a

 streaming video file (i.e., the file is an image file, video file, or streaming video file such as “live

 view mode”). See Ex. B, Figs. 1-5.

         34.     The Accused Instrumentalities infringe claim 49 of the ’723 Patent, wherein the

 system is configured to present the at least one digital media file on a display (i.e., the file is

 displayed on the android smartphone running the Canon Camera Connect app and the Canon

 camera). See Ex. B, Figs. 1-5.

         35.     The Accused Instrumentalities infringe claim 50 of the ’723 Patent, wherein the at

 least one digital media file is provided by the wireless mobile device (i.e., the digital media file is

 provided by the Canon camera). See Ex. B, Figs. 1-5.

         36.     As a result of the Defendant’s infringement of the ’723 Patent, Plaintiff has

 suffered monetary damages in an amount not yet determined, and will continue to suffer

 damages in the future unless Defendant’s infringing activities are enjoined by this Court.
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         37.     Unless a permanent injunction is issued enjoining Defendant and its agents,

 servants, employees, attorneys, representatives, affiliates, and all others acting on their behalf

 from infringing the ’723 Patent, Plaintiff will be irreparably harmed.

                                       PRAYER FOR RELIEF

 WHEREFORE, Plaintiff respectfully requests that this Court enter:

         1.      A judgment in favor of Plaintiff that Defendant has infringed the ’723 Patent;

         2.      A permanent injunction enjoining Defendant and its officers, directors, agents,

 servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in	  

 active concert therewith from infringement, inducing the infringement of, or contributing to the	  

 infringement of the ’723 Patent, or such other equitable relief the Court determines is warranted;

         3.      A judgment and order requiring Defendant pay to Plaintiff its damages, costs,	  

 expenses, and prejudgment and post-judgment interest for Defendant’s infringement of the ’723

 Patent as provided under 35 U.S.C. § 284, and an accounting of ongoing post-judgment	  

 infringement; and

         4.      Any and all other relief, at law or equity, to which Plaintiff may show itself to be	  

 entitled.

                                   DEMAND FOR JURY TRIAL

         Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of	  

 any issues so triable by right.
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 Dated: March 13, 2017                    Respectfully submitted,

                                          /s/ Thomas C. Wright
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                                          Alex J. Whitman
                                          State Bar No. 24081210
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                                          ATTORNEYS FOR PLAINTIFF
                                          DIGITAL TECHNOLOGIES LLC	  
       	  
